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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
                                ______________________


UNITED STATES OF AMERICA,

               Plaintiff,                             Case No. 1:07:CR:46
v.
                                                      HON. GORDON J. QUIST
ELONDA DORTCH,

            Defendant.
______________________________/


                                             ORDER

       The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the parties,

and no objection has been made thereto within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1.      The Report and Recommendation of the Magistrate Judge filed April 20, 2007, is

approved and adopted as the Opinion and Findings of this Court.

       2.      Defendant Elonda Dortch's plea of guilty to Count 4 of the Indictment is accepted.

Defendant Elonda Dortch is adjudicated guilty.

       3.      A decision of whether to accept the written plea agreement will be made at the time

of sentencing after the Court has had the opportunity to review the Presentence Investigation Report.

See U.S.S.G. Ch. 6.


Dated: May 17, 2007                                         /s/ Gordon J. Quist
                                                           GORDON J. QUIST
                                                      UNITED STATES DISTRICT JUDGE
